AO 93 (Rev. 1/13) Search and Seizure Warrant



                                           UNITED STATES DISTRICT COURT
                                                                      for the
                                                             Middle District
                                                         __________ DistrictofofTennessee
                                                                                 __________

                  In the Matter of the Search of                         )
              (Briefly describe the property to be searched              )
               or identify the person by name and address)               )      Case No.      21-mj-1224
       Express Mail Parcel # EJ816274429US, addressed to                 )
                 Anthony Martinez, 417 Norfolk,                          )
                      LaVergne, TN 37086                                 )

                                                 SEARCH AND SEIZURE WARRANT
To:       Any authorized law enforcement officer
           An application by a federal law enforcement officer or an attorney for the government requests the search
of the following person or property located in the                          Middle   District of           Tennesee
(identify the person or describe the property to be searched and give its location):


      See Attachment A.




        I find that the affidavit(s), or any recorded testimony, establish probable cause to search and seize the person or property
described above, and that such search will reveal (identify the person or describe the property to be seized):

      See Attachment B.




         YOU ARE COMMANDED to execute this warrant on or before                December 28, 2021        (not to exceed 14 days)
       ✔ in the daytime 6:00 a.m. to 10:00 p.m. u at any time in the day or night because good cause has been established.
       u

        Unless delayed notice is authorized below, you must give a copy of the warrant and a receipt for the property taken to the
person from whom, or from whose premises, the property was taken, or leave the copy and receipt at the place where the
property was taken.
        The officer executing this warrant, or an officer present during the execution of the warrant, must prepare an inventory
as required by law and promptly return this warrant and inventory to                    USMJ Barbara D. Holmes                   .
                                                                                               (United States Magistrate Judge)

     u Pursuant to 18 U.S.C. § 3103a(b), I find that immediate notification may have an adverse result listed in 18 U.S.C.
§ 2705 (except for delay of trial), and authorize the officer executing this warrant to delay notice to the person who, or whose
property, will be searched or seized (check the appropriate box)
     u for         days (not to exceed 30) u until, the facts justifying, the later specific date of                                   .


Date and time issued:            December 15, 2021, 12:03 p.m.
                                                                                                       Judge’s signature

City and state:              Nashville, Tennessee                                   Barbara D. Holmes, U.S. MAGISTRATE JUDGE
                                                                                                     Printed name and title
                      Case 3:21-mj-01224 Document 2 Filed 12/20/21 Page 1 of 2 PageID #: 13
AO 93 (Rev. 1/13) Search and Seizure Warrant (Page 2)

                                                                   Return
Case No.:                                Date and time warrant executed:        Copy of warrant and inventory left with:
 21-mj-1224                        12/15/21 12:06 p.m.
Inventory made in the presence of :
 Don Paxton
Inventory of the property taken and name of any person(s) seized:
  Evidence discovered in USPS EM parcel, EJ816274429US, addressed to 417 Norfolk, Lavergne TN
  4 individual vacuum sealed bags containing a green leafy substance believed to be synthetic marijuana. Total weight was 1,832
  grams.
  One USPS priority envelope containing various sheets of paper and envelopes that appear to be soaked in some type of
  chemical. A piece of paper from one of the sheets of paper was removed and field tested and the paper tested positive for
  methamphetamine.
  One bundle of Suboxone strip packages wrapped in clear wrap and carbon paper. Total weight was 249 grams.
  One bundle of Suboxone strip packages wrapped in clear wrap and carbon paper. Total weight was 266 grams.
  Two pharmaceutical pill bottles containing white pills believed to be Xanax. Total weight of the two pill bottles was 69.5
  grams.
  One clear Ziploc bag containing white pills believed to be Xanax and pink strips believed to be Suboxone. Total weight was
  164.5 grams.
  One brown paper bag containing Suboxone strip packages. Total weight was 82.5 grams.
  One blue plastic child’s bag containing Suboxone strip packages and one pharmaceutical pill bottle containing white pills
  believed to be Xanax. Total weight of the Suboxone packages was 438.5 grams and total weight for the pill bottle was 35
  grams.
  One brown small USPS Ready Post containing Suboxone strip packages. Total weight was 272.5 grams.
  15 vape cartridges possibly containing marijuana oil.
  9 vape pens.
  Various clothing and one pair of shoes.
  One pair of Apple Airpods.
  Six cellular phones.
  Various cell phone cords and plugs.
  Five boxes of Newport cigarettes.
  Various lose cigarettes wrapped in clear wrap (15bundles).
  Two cell phone thimbles.


                                                                Certification


        I declare under penalty of perjury that this inventory is correct and was returned along with the original warrant to the
designated judge.



Date:      12/15/21
                                                                                       Executing officer’s signature

                                                                                  David Wilson, Postal Inspector
                                                                                          Printed name and title




                      Case 3:21-mj-01224 Document 2 Filed 12/20/21 Page 2 of 2 PageID #: 14
